Case 2:15-cr-20126-AJT-APP ECF No.1 filed 03/05/15 PagelD.l1 Page 1of9

os;
Ms,

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
Case:2:15-cr-20126

 

United States of America, Judge: Tarnow, Arthur J.
MJ: Patti, Anthony P.
. Filed: 03-05-2015 At 03:20 PM
Plaintiff, INDI USA V. HAMMOUD (TAM)
Vv, VIO: 18 U.S.C. § 1344 — Bank Fraud
18 U.S.C. § 1341 ~ Mail Fraud
Fadi Hammoud, 18 U.S.C. § 1028A — Agg. Id. Theft
Defendant.
INDICTMENT

 

THE GRAND JURY CHARGES:
GENERAL ALLEGATIONS
At all times pertinent to this indictment:
l. Defendant FADI HAMMOUD was the resident, and at times the
owner, of the home located at 7601 Miller Road (Miller), Dearborn, Michigan.
2. Wells Fargo Bank (Wells Fargo) and National City Bank were
financial institutions as defined by Title 18, United States Code, Section 20, whose

deposits were insured by the Federal Deposit Insurance Corporation.
Case 2:15-cr-20126-AJT-APP ECF No.1 filed 03/05/15 PagelD.2 Page 2 of9

3, The first mortgage on Miller was held by Wells Fargo and the second
mortgage was held by National City Bank. Defendant HAMMOUD was the
borrower.

4. “Short Sale” was a term used in the banking industry to describe the
sale of real estate for less than the outstanding mortgage or lien on the property.
Short sales often involved forgiveness of the residual debt after the sale based on
the borrower’s inability to pay.

5. “Short Sale Affidavit” was a document Wells Fargo required
HAMMOUD to submit in conjunction with his application for short sale relief. The
Short Sale Affidavit confirmed, among other things, that the sale was an “arm’s
length” transaction between parties who are unrelated and unaffiliated by family,
marriage, or commercial enterprise, that there were no agreements, understandings
or contracts between the buyer and HAMMOUD, and that HAMMOUD would
remain in Miller as a tenant or later obtain title or ownership of Miller.

6. Grange Insurance was an insurance provider located in Columbus,
Ohio, who offered homeowner insurance policies to policy holders in Michigan,
among other states.

7. All dates are alleged to be “on or about” the specific date stated.

hb
Case 2:15-cr-20126-AJT-APP ECF No.1 filed 03/05/15 PagelD.3 Page 3 of9

COUNT ONE
ISUS.C. § 1344 -- Bank Fraud

8. Paragraphs | — 5 and 7 of the General Allegations are hereby
realleged and incorporated by reference.

9, From in or about August 2011, and continuing through in or about
August 2012, in the Eastern District of Michigan, defendant FADI HAMMOUD
devised and executed a scheme to obtain money, funds and property owned by and
under the contro! of Wells Fargo by means of materially false and fraudulent
pretenses, representations, and promises.

10. As part of this scheme, HAMMOUD, with intent to defraud, did the
following:

A. In August 201], HAMMOUD began negotiating with Wells
Fargo for short sale approval on Miller.

B. In September 2011, HAMMOUD, convinced his friend, B.M.,
to purchase Miller from HAMMOUD with the agreement that HAMMOUD
would continue to live in Miller and B.M. would transfer title back to
HAMMOUD in several months.

C. HAMMOUD assured B.M. that he would take care of
everything, including providing the money needed for B.M. to purchase

Miller from HAMMOUD.
Case 2:15-cr-20126-AJT-APP ECF No.1 filed 03/05/15 PagelD.4 Page 4of9

D. On June 5, 2012, HAMMOUD submitted and caused to be
submitted to Wells Fargo a Short Sale Affidavit in support of his
application for short sale relief. HAMMOUD, with intent to defraud, signed
ihe Short Sale Affidavit certifying and affirming under penalty of perjury
that the sale of Miller to B.M. was an “arm’s length” transaction and that
there were no agreements or understandings that HAMMOUD would
continue to live in the Miller house as a tenant or later obtain title.

E. As he intended, after consideration of the materially false and
fraudulent representations and promises HAMMOUD made in the short
sale affidavit and during the negotiation process, Wells Fargo approved the
short sale of Miller,

F, On August 2, 2012, at the closing of the Miller short sale,
HAMMOUD, with intent to defraud, again signed a Short Sale Affidavit
certifying and affirming under penalty of perjury that the sale of Miller to
B.M. was an “arm’s length” transaction and that there were no agreements
or understandings that HAMMOUD would continue to live in the Miller
house as a tenant or later obtain title.

11. This was all in violation of Title 18, United States Code, Section

1344,
Case 2:15-cr-20126-AJT-APP ECF No.1 filed 03/05/15 PagelID.5 Page5of9

COUNTS TWO THROUGH FOUR
IS USC. § 1341 — Mail Fraud

12. Paragraphs 1 and 6 —7 of the General Allegations are hereby
realleged and incorporated by reference.

[3. From in or about January 2013, and continuing through in or about
March 2013, in the Eastern District of Michigan, defendant FADI HAMMOUD
devised and executed a scheme to obtain money from Grange Insurance by means
of materially false and fraudulent pretenses, representations, and promises, and for
the purpose of executing said scheme, defendant FADI HAMMOUD knowingly
caused mail to be delivered by the U.S. Postal Service.

14. As part of the scheme, HAMMOUD, with intent to defraud Grange
Insurance, did the following without B.M.’s knowledge or consent:

A. On or about August 8, 2012, HAMMOUD, posing as B.M.
applied for a homeowner’s insurance policy from Grange Insurance in the
name of B.M. for 7601 Miller Road, Dearborn, Michigan.

B. On January 14, 2013, HAMMOLD, posing as B.M. and
providing the policy number issued to B.M., called Grange Insurance to
initiate a new claim due to water damage caused to Miller and its contents
as a result of a burst bathroom pipe.

C, From January 14,2013 through March 201 3, HAMMOUD,

posing as B.M., submitted numerous false and fraudulent claims to Grange

5
Case 2:15-cr-20126-AJT-APP ECF

No. 1 filed 03/05/15 PagelD.6 Page 6of9

Insurance in B.M.’s name including, but not limited to rent reimbursement

and personal property damaged as a result of the burst pipe.

D. As a result of the fraudulent scheme, from January 14, 2013

through March 2013, HAMMOUD received and cashed over $33 7,000 in

insurance claims checks made payable to B.M.

15. Each of the following constitutes a separate count of mail fraud:

 

 

—

 

 

 

 

 

 

Count Approximate
Date of Mailing
2 January 17, 2013
3 January 30, 2013
4 February 21, 2013

| Description of Mailing

 

 

 

Grange Insurance check for $1,000 payable to
Billy Mukhal for “ALE- Advance Payment”

 

 

Grange Insurance check for $17,500 payable
to Billy Mukhal for “Four Months Rent and
Security Deposit”

Grange Insurance check for $160,122.44
payable to Billy Mukhal and Axium

 

 

 

Investment Corp for “ACV of Structure”

 

16. This was all in violation of 18 U.S.C. § 1341,
Case 2:15-cr-20126-AJT-APP ECF No.1 filed 03/05/15 PagelD.7 Page 7 of9

1S USC. § 1028Afa}(I) — Aggravated Identity Theft

17. On or about January 14, 2013, in the Eastern District of Michigan, the
detendani, FADI HAMMOUD, did knowingly use, without lawful authority, a
means of identification of another person during and in relation to a felony
enumerated in 18 U.S.C. § 1028A(c), specifically, mail fraud in violation of 18
U.S.C. § 1341, all in violation of 18 U.S.C. § 1028(A).

FORFEITURE ALLEGATIONS

18. The allegations contained above are realleged and incorporated by
reference as though fully set forth herein for the purpose of alleging forfeiture to
the United States of America of any property, real or personal obtained by the
defendant, FADI HAMMOUD, by commission of the offenses charged in Counts
1-5 pursuant to the provisions of Title 18, United States Code, Sections
981(a)(1)(C) and Title 28, United States Code, Section 246 l(c),

19. Ifthe property described above as being subject to forfeiture pursuant to
Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States
Code, Section 2461(c), as a result of any act or omission of the defendant:

1, cannot be located upon the exercise of due diligence;

il, has been transferred or sold to, or deposited with, a third party;

Mi. has been placed beyond the jurisdiction of the Court;

Iv, has been substantially diminished in value: or

7
Case 2:15-cr-20126-AJT-APP ECF No.1 filed 03/05/15 PagelD.8 Page 8 of9

has been commingled with other property that cannot be
subdivided without difficulty; it is the intent of the United

States, pursuant to Title 21, United States Code, Section 853(p)

3

to seek the forfeiture of any other property of the defendant to

satisfy a forfeiture judgment.

THIS IS A TRUE BILL

/si GRAND JURY FOREPERSON
GRAND JURY FOREPERSON

BARBARA L. MCQUADE
United States Attorney

/s/ FRANCES LEE CARLSON
Assistant United States Attorney
211 W. Fort St., Suite 2001
Detroit, MI 48226

(313) 226-9696
frances.carlson@usdoj.gov

Dated: March 5, 2015
Case 2:15-cr-20126-AJT-APP ECF No.1 filed 03/05/15 PagelD.9 Page 9of9

 

Case:2:15-cr-20126
Judge: Tarnow, Arthur J.
i istri MJ: Patti, Anthony P.
United States District Court imi ne, ;
Eastern District of Michigan Criminal Case Cover Filed: 03-05-2015 At 03:20 PM

 

 

INDI USA V. HAMMOUD (TAM)

NOTE: it is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.
Reassignment/Recusal Information this matter was opened in the USAO prior to August 15, 2008

{]
Companion Case Information

 

Companion Case Number:

 

This may be a companion case based upon LCrR 57.10 {b)(4)';

[|] Yes No
Case Title: USA v.

Judge Assigned:

AUSA's Initials: // C-—

 

 

 

Fadi Hammoud

 

County where offense occurred :

 

Wayne
Check One: Felony (_] Misdemeanor | Petty
Indictment/ Information --- no prior complaint.
¥_indictment/ Information --- based upon prior complaint [Case number: 14-MJ-30362]
Indictment/

Information --- based upon LerrR 87.10 (d) [Complete Superseding section below].
Superseding Case Information

 

Superseding to Case No:

 

Judge:

 

L] Original case was terminated; no additional charges or defendants.
["] Corrects errors; no additional charges or defendants.

Involves, for plea purposes, different charges or adds counts.
[_] Embraces same subject matter but adds the additional defendants or charges below:

Defendant name

Charges Prior Complaint (if applicable)

Please take notice that the below listed Assistan

t United States Attorney is the attorney of record for
the above captioned case.

a
March 5, 2015 f Ae

Date Frances Lee Carlson

' Companica cases are matters in which it appears that (1) substantially similar evidence will be offered at trai, (2) the same or related parties are present, and the cases arise out of the
same transaction or occurrence. Cases may ke companion cases even though one of them may have already been terminated.

04/13

 
